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                          IN THE UNITED STATE DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION



 UNITED STATES OF AMERICA                                                          4:17.CR.122-Y
 VS
 ANTHONY ALEXANDER FERRARI (1)

                      ORDER OF REFERRAL FOR ARRAIGNMENT
                        AND RECEIPT OF NOT GUILTY PLEA

        The above-styled and numbered cause is hereby REFERRED to United States Magistrate

Judge Jeffrey L. Cureton for arraignment at 9:30 a.m. on July 26, 2017. All attorneys must be

in Court by 9:00 a.m. to insure a timely start of the arraignment hearing. Defense counsel is

ORDERED to IMMEDIATELY notify Carmen Bush at 817-850-6673, if an interpreter will be

needed at the arraignment.

        If you and your client desire to waive your client's right to be present at arraignment, the

attached Waiver of Arraignment and Entry of Not Guilty Plea must be completed, signed, and

returned (not filed) to Julie Harwell, United States District Clerk's Office, 501 W. 10th Street, Room

310, Fort Worth, TX 76102, no later than noon the day before your arraignment is set. If the waiver

is timely submitted, you and your client will not be required to appear at arraignment. Otherwise,

you and your client must be present at the arraignment on the date and time stated above.

        SIGNED July 20, 2017.



                                                      ____________________________
                                                      TERRY R. MEANS
                                                      UNITED STATES DISTRICT JUDGE

TRM/cb
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                    IN THE UNITED STATES DISTRICT COURT
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                   _________________________________________

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §     CRIMINAL NO.
                                                 §     (This document cannot be efiled)
                                                 §

        WAIVER OF ARRAIGNMENT AND ENTRY OF NOT GUILTY PLEA

       Pursuant to FED. R. CRIM. P. 10(b), the above-named defendant waives the right to be

present at arraignment. The defendant affirms having received a copy of the indictment in

the above-captioned case, and reviewing the indictment with counsel. The defendant

acknowledges and understands the general nature of the charges against the defendant.

       With the advice and consent of counsel, the defendant hereby waives the right to be

present at arraignment and enters a plea of NOT GUILTY to each count charged.

                                                 Date:_____________________
Defendant


Defense Counsel                                  Date: _____________________


       Accepted by the Court this       day of                          2017.




                                         JEFFREY L. CURETON
                                         UNITED STATES MAGISTRATE JUDGE
